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AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                          District of &ROXPELD

                  United States of America                          )
                             v.                                     )
                                                                    )      Case No. 21-mj-386
                  Michael Gareth Adams                              )
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021             in the county of                              in the
                         LQWKH'LVWULFWRI      &ROXPELD , the defendant(s) violated:
             Code Section                                                     Offense Description
        18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds
        Without Lawful Authority,
        18 U.S.C. § 1752(a)(2) - Knowingly Engages in Disorderly or Disruptive Conduct in Restricted
        Building or Grounds,
        40 U.S.C. § 5104(e)(2)(D) - Violent Entry and Disorderly Conduct on Capitol Grounds,
        40 U.S.C. § 5104(e)(2)(G) - Violent Entry and Disorderly Conduct on Capitol Grounds.
         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                              Complainant’s signature

                                                                                   Madison K. Ramsden, Special Agent
                                                                                              Printed name and title

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E\WHOHSKRQH                                                                                            2021.04.20
Date:                                                                                          14:27:38 -04'00'
                                                                                                 Judge’s signature

City and state:                         :DVKLQJWRQ'&                         =LD0)DUXTXL860DJLVWUDWH-XGJH
                                                                                   _                                 _
                                                                                              Printed name and title
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                                   STATEMENT OF FACTS

        Your affiant, Madison Ramsden, is a Special Agent of the Federal Bureau of Investigation.
I am primarily assigned to investigate matters of national security. Currently, I am tasked with
investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a Special
Agent, I am authorized by law or by a Government agency to engage in or supervise the prevention,
detention, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there, including Michael Adams as described below.

        The Federal Bureau of Investigation (“FBI”) is investigating Michael Adams (“ADAMS”)
regarding his involvement in entering the U.S. Capitol building on January 6, 2021, and the
investigation concerns possible violations of, inter alia, 18 U.S.C. § 1752(a)(1) & (2), and 40
U.S.C. § 5104(e)(2)(C)(i),(D) & (G).

       Witnesses: Since the events at the U.S. Capitol, the FBI has received information from
Witness #1 - #3 regarding ADAMS’s potential involvement in entering the Capitol. Witness #1 -
#3 had prior associations with ADAMS, including in-person contact and knowledge of his physical
appearance.

        1.      Witness #1: On or about February 28, 2021, Witness #1 submitted an anonymous
electronic tip to the FBI National Threat Operation Center, advising that Michael ADAMS told
Witness #1 that he was one of the first persons that entered the Capitol building. According to
Witness #1, ADAMS also showed some photographs located on his phone of the incident to
Witness #1. Law enforcement subsequently interviewed Witness #1, who stated that ADAMS
showed a video on his cellphone to Witness #1. The video recorded ADAMS and appeared to be
recorded from inside the Capitol building and taken from his point of view.

       2.      Witness #2: Your affiant spoke with Witness #2, who stated that s/he had heard
through other persons that ADAMS stated he was one of the first persons to enter the Capitol
building on January 6, 2021. Witness #2 also stated that ADAMS drove an old blue station-wagon
type vehicle with antique license plates, which was probably a Dodge or Oldsmobile model.

        3.      Witness #3: Your affiant spoke with Witness #3, who also stated that s/he heard
through other persons that ADAMS entered the Capitol building on January 6, 2021. Witness #3
also stated that ADAMS drove an old blue station-wagon type vehicle with antique license plates.

        Open source videos: Law enforcement reviewed several videos provided to the FBI by
members of the public that recorded ADAMS in the restricted area surrounding the Capitol on
January 6, 2021. In one video, ADAMS was recorded putting on a blue shirt and dark-colored
jacket over a plaid shirt, with a red hat in his hand. ADAMS was carrying a flag in his left hand,
while carrying a longboard with orange wheels in his right hand.
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       Open source video also recorded ADAMS outside the North door of the Capitol building,
wearing a dark jacket, blue shirt with a plaid shirt visible underneath, red white and blue neckwear,
while carrying a flag(s) and a longboard with orange wheels.
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        Capitol building video-surveillance footage: I reviewed security video-surveillance
cameras from the interior of the Capitol building from January 6, 2021. At approximately 2:45
p.m., surveillance videos located in the interior of the Capitol building near the northwest door,
recorded ADAMS entering the Capitol building. ADAMS was wearing a red hat, red white and
blue neckwear, and a dark jacket, while carrying a longboard with orange wheels and a flag or
flags (green markings on the original footage).
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        At approximately 2:46 p.m., ADAMS was recorded entering the parliamentarian’s office
near the northwest door of the Capitol building, carrying the longboard with orange wheels. At
approximately 2:49 p.m., ADAMS was recorded leaving the office, still holding his longboard
with orange wheels and in possession of a cellphone.
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        At approximately 2:59 p.m., the Capitol building video-surveillance cameras recorded
ADAMS again in the north side of the Capitol building, specifically the Brumidi hallway, wearing
a red hat, red white and blue neckwear, dark jacket, and carrying a longboard with orange wheels
and a flag or flags.
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       Body-worn camera footage: Your affiant reviewed body-worn cameras worn by
members of the Metropolitan Police Department (“MPD”) standing outside the Capitol building
on January 6, 2021. At approximately 4:21 p.m., ADAMS was recorded on police body camera.
wearing the same clothing, initially without the red hat, and still carrying a longboard with orange
wheels and two flags.
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        Geofence: Witness #1 stated that ADAMS’ phone number was 571-484-0164, and at the time of
his arrest on January 5, 2021, ADAMS’ provided his cellphone number as 571-484-0164 to law
enforcement. According to records obtained through a search warrant served on Google, a mobile
device associated with 571-484-0164 was present at the U.S. Capitol on January 6, 2021. Google
estimates device location using sources including GPS data and information about nearby Wi-Fi
access points and Bluetooth beacons. This location data varies in its accuracy, depending on the
source(s) of the data. As a result, Google assigns a “maps display radius” for each location data
point. Thus, where Google estimates that its location data is accurate to within 10 meters, Google
assigns a “maps display radius” of 10 meters to the location data point. Finally, Google reports
that its “maps display radius” reflects the actual location of the covered device approximately 68%
of the time. In this case, Google location data shows that a device associated with 571-484-0164
was within the U.S. Capitol from approximately 2:45 pm to 4:59 pm. Google records show that
the “maps display radius” for this location data was approximately 100 feet, which encompasses
an area that is partially within the U.S. Capitol Building.

        Identification: On March 22, 2021, law enforcement showed several screenshot
photographs captured from the interior video-surveillance footage, including some of the above-
mentioned photographs, to Witness #1-Witness #3 for identification purposes. Witness #1 stated
that the person in the photographs looked like ADAMS, but could not be entirely certain because
of the photo quality.

       Witness #2 stated that s/he could not be certain if the person in the photographs was
ADAMS because of the quality of the photos and because Witness #2 normally saw ADAMS
wearing a mask. Witness #3 viewed the photo images, and believed that the person could be
ADAMS and had a similar hairstyle, but could not be sure.

       On March 29, 2021, law enforcement showed Witness #1 the above-mentioned screenshots
from the open source videos, including some of the above-mentioned photographs, to Witness #1.
Witness #1 viewed the photographs and stated that s/he was one hundred percent sure that it was
ADAMS in the photographs. Witness #1 also noted that, after viewing the photographs on March
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22nd, s/he later realized that s/he recognized the jacket in the photographs as the same jacket that
Witness #1 had seen ADAMS wear in the past.

        I have reviewed the previously-mentioned screenshots from the open sources videos, the
MPD body-worn camera videos, and the Capitol building video-surveillance footage. I have also
obtained a copy of ADAMS’ driver’s license that contained a photograph of ADAMS and a copy of
ADAMS’ booking photograph from January 5, 2021, which was not connected to the events of January
6, 2021 (see below):




        I compared the images from the screenshots and ADAMS’ booking photo, and they appear
visually to be the same person. In addition, based on the distinctive clothing, hairstyle, clothing
and longboard with orange wheels, I believe the person identified by Witness #1 as ADAMS is
the same person recorded inside the Capitol building on January 6, 2021.

        Based on the foregoing, I submit that there is probable cause to believe that Michael
ADAMS violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions. For purposes of Section 1752 of Title 18, a
“restricted building” includes a posted, cordoned off, or otherwise restricted area of a building or
grounds where the President or other person protected by the Secret Service, including the Vice
President, is or will be temporarily visiting; or any building or grounds so restricted in conjunction
with an event designated as a special event of national significance.

        I submit there is also probable cause to believe that Michael ADAMS violated 40 U.S.C.
§ 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
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building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.

                                                    Respectfully submitted,



                                                    _________________________________
                                                    Madison Ramsden
                                                    Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 20th day of April, 2021.

                                                    ___________________________________
                                                    ZIA M. FARUQUI,
                                                    U.S. MAGISTRATE JUDGE
